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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION


UNITED STATES OF AMERICA

              v.                                      Case No. 3:99cr98/RV

KEVIN LASHAWN GROOMS
__________________________________/


                            ORDER REDUCING SENTENCE

       Currently pending is the Government’s motion for a reduction of the defendant's
sentence under Rule 35(b), Federal Rules of Criminal Procedure. (Doc.66/51 ) The
Government has certified defendant Grooms’ subsequent substantial assistance in the
investigation of prosecution of other individuals, so that a reduction of sentence under
Rule 35(b) is warranted.
       Upon consideration, I find that the grounds set out in the Government's motion
do constitute substantial assistance within the meaning of Rule 35(b), and that the
Government's motion should be, and is hereby, GRANTED. Accordingly, defendant
Grooms’ sentence and judgment entered herein on April 18, 2000, is hereby amended
and his sentence of imprisonment is reduced from a term of Life to a term of two
hundred four months (204) months followed by five (5) years of supervised release.
In all other respects, the defendant's judgment of April 18, 2000 (doc. 42), remains
in full force and effect.
       DONE AND ORDERED this 26th day of June, 2006.


                                 /s/ Roger Vinson
                                 ROGER VINSON
                                 Senior U.S. District Judge
